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                EXHIBIT B
  - w
           Case 4:21-cv-00690-BJ Document 1-2 Filed 05/27/21                                                  Page 2 of 12 PageID 6
                                                                 THE       STATE          OF       TEXAS
TO:       HOME DEPOT U.S.A., INC
          REGISTERED AGENT: CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS INCO
          211 EAST 7TH STREET
          SUITE 620
          AUSTIN, TX 78701

      YOU ARE HEREBY COMMANDED TO APPEAR BY FILING A WRITTEN ANSWER TO THE PLAINTIFF'S
ORIGINAL PETITION WITH THE DISTRICT CLERK, WHO 1S THE CLERK FOR THE 355T" JUDICIAL DISTRICT
COURT IN AND FOR HOOD COUNTY, LOCATED IN THE HOOD COUNTY JUSTICE CENTER, 1200 W. PEARL ST.,
CITY OF GRANTBURY, TEXAS.
        NOTICE: YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY. IF YOU OR YOUR ATTORNEY
DOES NOT FILE A Wb'.ITTEN ANSWER WITH THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE
MONDAY NEXT FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU.
        THIS SUIT IS NUMBERED C2021046, AND WAS FILED IN THE 355TH JUDICIAL DISTRICT COURT ON
03/31/2021 AND IS STYLED:

              KAWANA HUNTER                                                                                                    PLAINTIFF
                         VS.
              HOME DEPOT U.S.A., INC                                                                                           DEFENDANT

WHO ARE THE PARTIES IN TI-IIS SUIT, AND TIIE NATURE OF THE SUIT IS SHOWN IN THE COPY OF THE
PLAINTIFF'S PETITION, ATTACHED IIERETO.

NAME & ADDRESS OF PLANTIFF'S ATTORNEY                                                    WITNESS: TONNA TRUMBLE HITT
JAMES BAUGUSS                                                                            CLERK OF THE DISTRICT COURT,
1934 PENDLETON DRIVE                                                                     HOOD COUNTY, TEXAS.
GARLAND TX 75041.                                                                        ISSUED AND GIVEN UNDER MY HAND
                                                                                         AND SEAL OF SAID COURT, AT
                                                                                         OFFICE IN GRANBURY, TEXAS, THIS
TONNA TRUMBLE HITT                                                                       APR1L 06, 2021
DISTRICT CLERK
HOOD COUNTY,IUSTICE CENTER, 1200 W. PEARL ST.
                                                                                                                                        „~~~
GRANBURY, T~EXAS 76048                                                                               BY:` 'Ky'~                                        DEPUTY
9:k:F*~F:FAkk•Y.k~k'r.~:~;Ai:::kY:k~:~:~:k*:Fi::l-~;9:*kk9:kd:k*k~l-k ~*9::1-kk9:kkx*9::F*9:kk9c:l-k:F9:k:FkAk~~Yki:x:txkkkk~Y**:F~:F9:kk:F9:kk*~F:t:Fk*k*:tk:F

                          OFFICER'S OR AUTIIORIZED PERSON'S RETURN
      RECEIVED THIS CITATION ON THE             DAY OF                 , 2021, AT       O'CLOCK
_.M. AND EXECUTED AT                                  WITHIN THE COUNTY OF                      ,
STATE OF              ON THE     DAY OF                   ,2021 AT          O'CLOCK        M. BY
DELIVERING TO THE WITHIN NAMED                                                  A TRUE COPY THIS
CITATION TOGETHER WITH THE ACCCDMPANYING COPY OF THE PLAINTIFFS PETITION, HAVING FIRST
ENDORSED    ON   SAME    THE   DATE    OF    DELIVERY.   THE     METHOD     OF    SERVICE   WAS
                          THE UNDERSIGNED UPON OATH SAYS THAT HE/SHE IS A DISINTERESTED
PERSON AND THAT HE/SHE IS OVER THE AGE OF 18 YEARS.
FEE $
                                                       SHERIFF/CONSTABLE/AUTHORIZED PERSON
                                                                                                                                          COUNTY,TEXAS
                                                                                                  BY                                            DEPUTY
(MUST BE VERIFIED IF SERVED OUTSIDE THE STATE OF TEXAS OR SERVED BY A PERSON AUTHORIZED BY
THE COURT.)
STATE OF                 COUNTY OF                       SIGNED AND SWORN TO BY THE SAID
                                                   BEFORE ME ON THIS THE           DAY OF
                                        , 2023.
                                                                                NOTARY PUBLIC
                                                                                COMMISSION EXPIRES :
(SEAL)                                                                          PRINTED NAME


                                                     ~
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Case 4:21-cv-00690-BJ Document 1-2 Filed 05/27/21            Page 3 ofElectronically
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                                                                         District Clerk,
                                                                         Hood County, Texas



                    CAUSE NOC2021046
 KAWANA HUNTER,                  IN THE DISTRICT COURT
               Plaintiff,

u                                                   JUDICIAL DISTRICT

 HOME DEPOT U.S.A., INC,
                Defendant.                   HOOD COUNTY, TEXAS


       PLAINTSFF'S ORIGINAL PETIY'I®N AND RECUEST FOR DISCL®SURE

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, KAWANA HUNTER, Plaintiff, and files Plaintiff's Original Petition,

complaining of Defendant, HOIVIE DEPOT U.S.A., INC, and would show unto the Court as

follows:
                          I. SELECTION OF DISCOVERY LEVEL

       1.    This suit is governed by discovery control plan II under Rule 190.3 of the

Texas RUles of Civil Procedure.
                                      II. PARTIES

       2.    Plaintiff, K.AWANA HUNTER, is an individual who resides at 6305 West

Virginia Trail., Granbury TX 76048.
       3.    Defendant, HOME DEPOT U.S.A., INC, is an out of state corporation that

may be served through its President, Vice-President or Registered Agent, Corporation

Service Company d/b/a CSC-l.awyers Inco, at 211 East 7th Street Suite 620 Austin, TX

78701. Citation is being requested for this Defendant and service will be completed by a

private process server.




PLAINTIFF'S U031GVNAL PEl'ITIdN AND B=iEQI➢ES"TS FOR DISCLOSURE/265757               Page 1
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                               III. JURISDICTION & VENUE
       4.      The Court has continuing jurisdiction over Defendant, because Defendant
maintains minimum contacts with the State of Texas. The Court has jurisdiction over the
controversy, because the damages are within the statutory jurisdictional limits of the Court.
       5.      Venue is proper in I-iood County, Texas, because all or a substantial part of
the events or omissions giving rise to the claim occurred in Hood County.
                                         IV. FACTS
       6.      On July 25, 2020 Plaintiff was injured on the premises located at Home Depot
on 415 East Highway 377, Grandbury, TX. Plaintiff, Kawana Hunter, was in an aisle with
an employee getting an item from a hiigh shelf when the item fell hitting Plaintiff on her
head. At the time of injury, the premises were being used as a retail store by Defendant,
Home Depot U.S.A., INC.
       7.      Defendant was in control of the premises on which Plaintiff's injuries
occurred. At the time the injuries occurred, Defendant was the owner of the premises or
leasing the premises and had the exclusive right to control the property on which Plaintiff
was injured.
       8.      Pfaintiff was an invitee at the time the injury occurred. Plaintiff entered on
Defendant's premises for -the mufival benefit of herself and Defendant and at the implied
invitation of Defendant. Defendant extended an open invitation to the public to enter the
premmses.
                                     V. NEGLIGENCE
       9.      Because Plaintiff was an invitee at the time of injury, Defendant, Home Depot
U.S.A., INC., owed a duty to exercise ordinary care to keep the premises in reasonably
safe c.ondition, inspect the premises to discover latent defects, and to make safe any
defects or give an adequate warning of any dangers.
       10.     Defendant's conduct, and that of its agents, servants, and employees, acting
within the scope of their emp9oyment, constituted a breach of the duty of ordinary care
owed to Plaintiff. Defendant knew or should have known that -the condition on its premises
PLAINTIFF'S URIGIIVAL PPTITIoN AN® RFQUFSTS FOR ®ISCL®SURE/265757                      Page 2
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created an unreasonable risk of harm to invitees. Specifically, Defendant breached its duty
in one or more of the following ways:
              1.     Failing to inspect the premises on a regular basis;
              2.     Failing to be cautious;
              3.     Failing to instruct or train its agents, servants, and employees to
                     maintain a hazard free environment; and
              4.     Failing to supervise its agents, servants, and employees to ensure the
                     safety of invitees.
                                      VI. DAf1/rAGES
       11.    As a proximate result of Defendant's negligence, Plaintiff suffered severe
physical injuries. As a result of her injuries, Plaintiff has suffered the following damages:
              a.     Physical pain and mental anguish in the past and future;
              b.     Medical expenses in the past and future; and
              C.     Physical impairment.
                                        Vll. PRAYF_R
       12.    WHEREFORE, PREMISES CONSIDERED, Plaintiff, KAWANA HUNTER,
respectfully requests that Defendant, HOME DEPOT U.S.A., INC, be cited to appear and
answer, and on final trial, that Plaintiff have judgment against Defendant for:
              a.     Actual damages;
              b.     Prejudgment and post judgment interest as aliowed by law;
              C.     Costs of suit;
              d.     monetary relief over $250,000 but not more than $1,000,000; and
              e.     Any further relief, either in law or equity, to which Plaintiff is justly
                     entitled.




PLAINTiFF'S OCiIGINAL PETITION AfVD FtEClUESTS FOR DSSCLOSURE/265757                   Page 3
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                                Respectfully submitted,

                                Ben Abbott & Associates, PLLC
                                1934 Pendleton Drive
                                Garfand, Texas 75041
                                (972) 263-5555
                                (817) 263-5555
                                (972) 682-7586 Facsimile
                                eService@benabbott.com
                                /,~/ James Bauguss 11i
                                James f3auguss III
                                State Bar No. 24045463

                                ATTORNEY FOR PLAINTIFF




PLAIFJTIFF`S ORIGINAL PETITION AND REQl6ES'fS FOR DISCLOSl1RE/265757        Page 4
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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23128274
Notice of Service of Process                                                                            Date Processed: 04/29/2021

Primary Contact:           Quinessa Malcolm
                           The Home Depot, Inc.
                           2455 Paces Ferry Rd SE
                           Atlanta, GA 30339-1834

Electronic copy provided to:                   Adriane Towns
                                               Cathy Copeland

Entity:                                       Home Depot U.S.A., Inc.
                                              Entity ID Number 2483807
Entity Served:                                Home Depot U.S.A., Inc
Title of Action:                              Hunter, Kawana vs. Home Depot U.S.A., Inc
Matter Name/ID:                               Hunter, Kawana vs. Home Depot U.S.A., Inc (11185743)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Hood County District Court, TX
Case/Reference No:                            C2021046
Jurisdiction Served:                          Texas
Date Served on CSC:                           04/28/2021
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           James Bauguss III
                                              972-263-5555

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                                                                                 5/18/2021 11:11 AM
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                                                                                 District Clerk, 12
                                                                                 Hood County, Texas



                                       CAUSE NO. C2021046
KAWANA HUNTER,                                 §                      IN THE DISTRICT COURT
    Plaintiff,                                 §
                                               §
VS.                                            §                    355TH JUDICIAL DISTRICT
                                               §
HOME DEPOT U.S.A., INC.,                       §
    Defendant.                                 §                       HOOD COUNTY, TEXAS


             DEFENDANT HOME DEPOT U.SA., INC.’S ORIGINAL ANSWER
                     TO PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE:

         COMES NOW Defendant Home Depot U.S.A., Inc. (“Defendant” herein), in the above-

entitled and numbered cause, and for its Original Answer to Plaintiff’s Original Petition would

respectfully show unto the Court as follows:

                                             I.
                                       GENERAL DENIAL

1.       Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant hereby enters a

general denial, and demands that Plaintiff be required to prove his allegations by a preponderance of

the evidence.

                                           II.
                                  AFFIRMATIVE DEFENSES

2.       By way of affirmative defense, Defendant affirmatively alleges that the incident made the

basis of this suit and Plaintiff’s damages, if any, were proximately caused by Plaintiff’s own fault

and/or negligence.

3.       Defendant asserts the doctrine of comparative causation, which may bar any recovery by

Plaintiff, or may in the alternative reduce the amount of recovery by Plaintiff based on the

Plaintiff’s own percentage of fault.

4.       Defendant asserts the affirmative defense of contributory negligence. The negligence of



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Plaintiff caused or contributed to Plaintiff’s injures so that the claims are barred or, in the

alternative, must be reduced in accordance with the relative degree of Plaintiff’s own negligence.

Defendant requests the trier of fact to determine Plaintiff’s liability and percentage of

responsibility pursuant to Texas Civil Practice & Remedies Code section 33.003.

5.       Defendant is entitled to all caps and limitations on damages pursuant to the Texas Civil

Practice & Remedies Code.

6.       Defendant is not responsible for any expenses or damages allegedly incurred by Plaintiff

due to Plaintiff’s own acts, conduct, negligence and/or failure to exercise reasonable care in

mitigating Plaintiff’s damages.

7.       Plaintiff’s own negligent acts were more than 50% of the proximate cause of Plaintiff’s

injuries. Under Chapter 33 of the Texas Civil Practice and Remedies Code, Plaintiff is not

entitled to the relief requested in the Petition. To the extent that Plaintiff’s proportionate

responsibility is less than 50%, Plaintiff’s damages must be reduced by the percentage to which

Plaintiff is responsible for their injuries.

8.       Defendant alleges that Plaintiff's injuries and/or damages were caused by an intervening

event for which Defendant has no liability.

9.       To the extent that Plaintiff’s medical expenses exceed the amount actually paid on

Plaintiff’s behalf to Plaintiff’s medical providers, Defendant asserts the statutory defense set

forth in Section 41.0105 of the Texas Civil Practice and Remedies Code. Thus, recovery of

Plaintiff’s medical or health care expenses are limited to the amount actually paid or incurred by

or on behalf of Plaintiff.

10.      To the extent that any health care provider has written off its charges for medical care for

Plaintiff and/or paid charges for medical care in connection with the injuries underlying this suit,




                                                  2
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and in the unlikely event that Plaintiff obtains a final judgment against Defendant, Defendant is

entitled to a credit and/or offset for the total amount of such write-offs and/or expenditures

incurred and paid by others and accruing to Plaintiff pursuant to Texas Civil Practice &

Remedies Code Section 41.0105.

11.    Defendant is entitled to a credit or offset equal to the amount of any and all sums that the

Plaintiff has received, or may hereinafter receive, by way of settlement with any person or party.

Alternatively, Defendant contends that it is entitled to a proportionate reduction of any damages

found against it based upon the percentage of negligence attributable to the settling tortfeasor,

cross claimant, designated third party, or other party to this case.

12.    Any claims for pre-judgment interest are limited by the dates and amounts set forth in

Section 304.104 of the Texas Finance Code and Section 41.007 of the Texas Civil Practice &

Remedies Code.

13.    Defendant alleges that the injuries and damages alleged by Plaintiff may be due to

Plaintiff’s own negligence and recklessness in that Plaintiff’s failure to exercise ordinary care

proximately caused, in whole or in part, the alleged injuries and damages complained of by

Plaintiff. Plaintiff’s acts and omissions, whether taken together or separately, may be the sole

proximate cause, or a proximate cause of the injuries and damages Plaintiff has alleged in this

lawsuit. Any recovery by Plaintiff is therefore barred, or alternatively should be reduced in

accordance with the applicable law.

14.    The injuries pled by Plaintiff may have been caused, in whole or in part, by superseding

and/or intervening causes, including preexisting conditions and/or injuries and subsequently

occurring injuries and/or conditions that were not Defendant’s own creation.

15.    Defendant states that the alleged occurrence, incident, event or accident underlying this




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suit may have been caused by the negligence of a third party or parties over whom Defendant

had no control and said negligence was the proximate cause, or in the alternative, the sole

proximate cause of the occurrence, incident, event or accident underlying this suit and of the

alleged damages to Plaintiff.

16.     In the highly unlikely and remote event that the Plaintiff should recover any amount of

money damages for lost income or loss of earning capacity, Defendant affirmatively pleads that

such recovery is only recoverable in an amount reduced to present value and after all income

taxes have been deducted.

17.     Defendant asserts the defense of unavoidable accident. The damages plaintiff claims were

due to an accident that was not caused by the negligence of any party, and one that could not be

prevented by the exercise of due care.

                                             III.
                                      PRAYER FOR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Defendant Home Depot U.S.A., Inc. prays

that Plaintiff take nothing by this action and Defendant be dismissed with its costs, and for such

other relief, both general and specific, at law or in equity, to which Defendant may be justly entitled.




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                                                   Respectfully submitted,
                                                   Hawkins Parnell & Young, LLP

                                           By:     /s/ Troy D. Helling
                                                   TROY D. HELLING
                                                   State Bar No. 24007340
                                                   thelling@hpylaw.com
                                                   AMY WELBORN
                                                   State Bar No. 24012853
                                                   awelborn@hpylaw.com
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                                                   tyetter@hpylaw.com

                                                   2705 Bee Caves Road, Suite 220
                                                   Austin, Texas 78746
                                                   (512) 687-6900
                                                   (512) 687-6990 (Fax)
                                                   -AND-
                                                   4514 Cole Ave., Suite 1225
                                                   Dallas, TX 75205
                                                   (214) 780-5100
                                                   (214) 78-5200 (Fax)

                                                   ATTORNEYS FOR DEFENDANT
                                                   HOME DEPOT U.S.A., INC.


                                CERTIFICATE OF SERVICE

       I hereby certify by my signature above that a true and correct copy of the foregoing
document has been sent via electronic service to counsel of record in accordance with the Texas
Rules of Civil Procedure, on this the 18th day of May, 2021.

       James Bauguss III
       eservice@benabbott.com
       Ben Abbott & Associates, PLLC
       1943 Pendleton Drive
       Garland, Texas 75041




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